                    UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF NORTH CAROLINA
                          WESTERN DIVISION

SUSAN JANE HOGARTH,

                    Plaintiff,                    Case Number: 5:24-cv-00481-LF
       v.
                                                     Hon. Louise W. Flanagan
KAREN BRINSON BELL, et al.,
                                               ORDER GRANTING PLAINTIFF’S
                    Defendants.               CONSENTED-TO AND UNOPPOSED
                                                MOTION FOR LEAVE TO FILE
                                                 VERIFIED SUPPLEMENTAL
                                                       COMPLAINT




      Before the Court is Plaintiff Susan Hogarth’s Motion Consented-to and

Unopposed Motion for Leave to File Verified Supplemental Complaint. After careful

consideration, Plaintiff’s Motion is GRANTED.

      Plaintiff shall file on the docket a final version of her supplemental complaint

within three business days of this order.



      SIGNED this 6th day of November, 2024.



                                 __________________________________
                                 LOUISE W. FLANAGAN
                                 United States District Judge




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